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       5 Attorney for Plaintiff
             BP INDUSTRIES INCORPORATED
       6

       7
                                        IN THE UNITED STATES DISTRICT COURT
       8                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                  EASTERN DIVISION
       9

     10
             BP INDUSTRIES IN                      CORPORA TED,
     II
                        Plaintiff,
     12                                                                                 Case No. 5:13-CV-02261-VAP-DTB
                        vs.
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                                                                                        STIPULATION OF VOLUNTARY
     14 MICHAELS STORES, INC. and
             UMBRA              LTD,                                                    DISMISSAL PURSUANT TO F.R.C.P.
     15
                        Defendants.
                                                                                        41
                                                                                          (a)(l)(A)(ii)
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              STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P.

     20                                                                4   l(a)(1)(A)(ii
     21                 IT IS HEREBY STIPULATED AND AGREED by and between plaintiff,
     22 BP Industries Incorporated, and defendants Michaels Stores, Inc. and Umbra Ltd
     23 that the Complaint in this action be dismissed WITH PREJUDICE, and all
     24 Counterclaims in this action be dismissed WITHOUT PREJUDICE pursuant to
     25 the Federal Rules of                     Civil Procedure 41
                                                                                 (a)(1)(A)(ii), and subject to the terms of
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                                 STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41
                                                                                                         (a)(I)(A)(ii)
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      2 that certain "CONFIDENTIAL SETTLEMENT & RELEASE AGREEMENT,
      3
          dated December 23,2014, by and between all ofthe parties to this action.

      4

      5
                                                                   LA W OFFICE OF JOHN W. MARTIN
      6


      7
                                                                   lsi John W. Martin
      8                                                            John W. Martin, CA SBN # 113503
                                                                   Attorney for BP Industries Incorporated
      9

     10                                                            DYKEMA GOSSETT LLP
     11
                                                                   lsi Allan Gabriel
     12                                                            AIIan Gabriel, CA SBN#76477
                                                                   Attorney for Michaels Stores, Inc.
     13


     14                                                            DAMON MOREY LLP
     15
                                                                   lsi Randol~h C. Oppenheimer
     16                                                            Randolph . Oppenheimer
                                                                   Attorney for Umora Ltd
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                     STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41             (a)(1 )(A)(ii)
. "

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                                C.D. CaL. L.R. 5-4.3.4(a)(2)(i) Attestation
       2
                 I attest that the e-signatures of Allan Gabriel, on behalf of defendant
       3
           Michaels Stores, Inc., and Robert C. Oppenheimer, on behalf of defendant Umbra
       4
           Ltd, were added with authorizations conveyed by email from Messrs. Gabriel and
       5
           Oppenheimer. Pursuant to the emails from Messrs. Gabriel and Oppenheimer,
       6
           defendant Michaels Stores, Inc.' s counsel and defendant Umbra Ltd's counsel
       7
           concur in this fiing's content and have authorized this filing.
       8


       9
                                                                      lsi John W. Martin
      10
                                                                      John W. Martin
      II

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      17                                                      IT IS SO ORDERED.

      18                                                      DATED: 'r JIJ I
      19                                                        \.!: ¡; 'IV "J,
                                                                 \!A/'(,~~_ fA . . ~YlLf!J
      20                                                      UNITEOlìsES DISTRICT JUDGE;

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                       STIPULATION OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(I)(A)(ii)
